 Case 1:06-cr-00005-SPM-AK          Document 107    Filed 08/02/11   Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                     CASE NO.: 1:06cr5-SPM

CAROLINE CHRISTINA PARRA,

           Defendant.
____________________________/

                ORDER TERMINATING SUPERVISED RELEASE

       This cause comes before the Court on Defendant’s Motion for Early

Termination of Supervised Release (doc. 106). Defendant has been on

supervised for three years and seven months during which time she has

complied with all conditions. The Government offers no objection to early

termination. The Court finds that early termination is warranted by the conduct of

Defendant and in the interest of justice. 18 U.S.C. § 3583(e)(1); Fed. R. Crim. P.

32.1(c)(2)(B). Accordingly, it is

       ORDERED AND ADJUDGED that Defendant’s motion (doc. 106) is

granted. Defendant’s term of supervised release is terminated.

       DONE AND ORDERED this 2nd day of August, 2011.


                                         s/ Stephan P. Mickle
                                         Stephan P. Mickle
                                         Senior United States District Judge
